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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
       WILLIAM RAINSBERGER,                   )
                                              )
                    Plaintiff,                )
                                              )
       VS.                                    )   CIVIL ACTION NUMBER:
                                              )   1:16-CV-00103-WTL-MJD
       CHARLES BENNER,                        )
                                              )
                    Defendant.                )


             **********************************************
                    ORAL|VIDEO CONFERENCE DEPOSITION OF
                                 DR. KIM ROSSMO
                                 APRIL 13, 2017

             **********************************************

             ORAL DEPOSITION OF DR. KIM ROSSMO, produced as a
       witness at the instance of the Defendant, was duly
       sworn, was taken in the above-styled and numbered cause
       on the APRIL 13, 2017, from 2:14 p.m. to 4:32 p.m.,
       before Chris Carpenter, CSR, in and for the State of
       Texas, reported by machine shorthand, at the offices of
       Kim Tindall & Associates, 2550 South Interstate 35,
       Suite 110, Austin, TX, pursuant to the Federal Rules of
       Civil Procedure and the provisions stated on the record
       or attached hereto.
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  1
  2                          A P P E A R A N C E S
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  1                     THE REPORTER:      This is Chris Carpenter,
  2    the court reporter.        Do you both want copies of the
  3    deposition?
  4                     MS. SCHNEEMAN:      Can you send me -- this is
  5    Pam Schneeman.       Can you send me an electronic copy, but
  6    I -- I do like the condensed version with the index and
  7    the exhibit.      Can it be sent that way?
  8                     THE REPORTER:      Yes, it can be sent
  9    electronically with the exhibits attached.
 10                     MS. SCHNEEMAN:      Okay.
 11                     MR. WAPLES:     And this is Rich Waples, and
 12    we probably will not order one right away, but if we
 13    have your contact information, we will probably order
 14    one before trial.       So, I think the doctor will read and
 15    sign the deposition, so you can send the copy for that
 16    directly to him for signature.
 17                     THE REPORTER:      Okay.
 18                            DR. KIM ROSSMO,
 19    having been first duly sworn to testify the truth, the
 20    whole truth, and nothing but the truth, testified as
 21    follows:
 22                               EXAMINATION
 23    BY MS. SCHNEEMAN:
 24         Q.    Good afternoon, Doctor.          My name is Pam
 25    Schneeman.     I'm an attorney for the City of
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  1    Indianapolis, and I'm representing Detective Charles
  2    Benner in this lawsuit.         We've invited you to come today
  3    to answer some questions we have about your expert
  4    report, because we understand that you're going to be
  5    serving as an expert for the plaintiff in the case.
  6         A.    Good afternoon.
  7         Q.    Just so we have it for the record, would you
  8    please state and spell your name for the record?
  9         A.    My name is Kim Rossmo, K-I-M           R-O-S-S-M-O.
 10         Q.    Okay.     And were you ever contacted by an
 11    attorney, David Hennessey, to assist with William
 12    Rainsberger's underlying criminal case?
 13         A.    No.
 14         Q.    Okay.     When were you first contacted to assist
 15    Plaintiff William Rainsberger in this civil litigation?
 16         A.    I couldn't tell you the exact date, but it was
 17    sometime in 2016.
 18         Q.    Okay.     Do you know if it was spring, fall, the
 19    season of the year?
 20         A.    I have a record of it, but I don't have that
 21    record with me, so I wouldn't want to guess.
 22         Q.    Okay, that's fine.        And who first contacted you
 23    about possibly being an expert in this case?
 24         A.    Mr. Richard Waples.
 25         Q.    And what did he tell you at that time?
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  1         A.    He indicated that he was representing William
  2    Rainsberger in a civil matter regarding a wrongful
  3    arrest for the murder of Ruth Rainsberger, William's
  4    mother, and that the charges had been dropped against
  5    him and that they were pursuing a civil case.
  6         Q.    Okay.     And did he ask you to do anything at
  7    that time?
  8         A.    I think he wanted to discuss with me the
  9    possibility of retaining me, so I had a short discussion
 10    with him about how, you know, I approach that type of
 11    thing and then we proceeded from there.
 12         Q.    Okay.     And how -- how do you approach that type
 13    of thing, that being deciding whether you will take on a
 14    case as an expert?
 15         A.    I should say that I take very few of these
 16    cases.    Most of them either I choose not to be involved
 17    with or the conditions under which I operate are not
 18    satisfactory to the lawyer and so we don't proceed any
 19    further.     I make it clear that I don't really engage in
 20    cases where their only job is to attack or find
 21    weaknesses in the investigation.            I'm only really
 22    interested in working those cases where, I guess these
 23    are the operative words, the client is factually
 24    innocent.
 25         Q.    Okay.     And so as part of deciding to take on
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  1    this case as an expert, did you make some kind of
  2    determination that you thought Mr. Rainsberger was
  3    factually innocent?
  4         A.    What I normally would do, and I'll use the word
  5    normally in parentheses because, as I say, many cases
  6    don't even get to the next step, but what I would
  7    normally do and what I believe I did in this case is I
  8    asked for some basic information, and I tell the lawyer
  9    that I'll take a look at this and spend maybe a day of
 10    my time and then I'll let you know what I think I can --
 11    I can do for you.
 12                     And in that case, Mr. -- in this case,
 13    Mr. Waples wanted to proceed, so he sent me -- I believe
 14    some of the first documents were some legal documents,
 15    and I then asked for more information, and after -- at
 16    some point within a few days, I said that I would be
 17    willing to work on the case.
 18         Q.    Okay.     Let me circle back to the question that
 19    I asked earlier.       If I'm remembering your testimony, you
 20    said that you wouldn't take a case unless you thought
 21    the plaintiff was innocent.          And so my question was:
 22    Did you make some kind of determination that William
 23    Rainsberger was factually innocent?
 24         A.    Yes.
 25         Q.    Okay.     And --
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  1         A.    Or at least he appeared to be based on the
  2    information that I was provided at that time.                You can't
  3    make -- your evaluation will change as you look at more
  4    information and more evidence.
  5         Q.    Okay.     So if I understand your testimony,
  6    you're telling me that you at least initially agreed to
  7    take the case because you thought Mr. Rainsberger was
  8    innocent?
  9         A.    Correct.
 10         Q.    And what -- what information did you consider
 11    that caused you to believe that?
 12         A.    That I saw no evidence that suggested he was
 13    guilty.    Moreover, there were a number of problems in
 14    the initial police investigation.
 15         Q.    Okay.     It's my understanding from the
 16    information you provided in your expert report that you
 17    charge $400 an hour; is that correct?
 18         A.    That's correct.
 19         Q.    And has that been your fee arrangement with
 20    Mr. Waples and Mr. Rainsberger throughout this entire
 21    case?
 22         A.    Correct.
 23         Q.    Okay.     I was just curious if you had raised
 24    your fees at any time or something like that.
 25         A.    No.
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  1         Q.    And who is paying you for your time today?
  2         A.    Well, I believe I'm being paid by Mr. Waples'
  3    law firm.
  4         Q.    What did you do to prepare for your deposition
  5    today?
  6         A.    I read over my report.
  7         Q.    Okay.     Anything else?
  8         A.    No, that's all.
  9         Q.    Okay.     Are you aware that Mr. Waples deposed
 10    Detective Sergeant Leslie Van Buskirk earlier today?
 11         A.    No, I'm not aware of that.
 12         Q.    Okay.     Have you had any conversations with
 13    Mr. Waples or Mr. Rainsberger about a deposition of
 14    Leslie Van Buskirk?
 15         A.    I've had no conversations with Mr. Rainsberger
 16    at all on any matter.         Regarding Mr. Waples, I knew that
 17    there had been a report prepared by the defendants
 18    regarding the use of her as some sort of expert rebuttal
 19    witness and I -- I saw that document.             I didn't know
 20    that -- if or when she was going to be deposed.
 21         Q.    Okay.     So I was just curious if you considered
 22    any of her testimony in formulating any further opinions
 23    that you might have had in this matter?
 24         A.    As I said, I read that document, which was not
 25    really -- it was not her report.            I don't know if her
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   1   report informed that legal document.              But I didn't see
   2   anything in that report that was particularly material,
   3   and I -- I've not changed my opinion regarding anything.
   4        Q.     Okay.    Thank you.      And I understand from our
   5   conversation before we went on the record that you did
   6   bring a copy of your expert report with you today.
   7        A.     Yes.
   8                    MS. SCHNEEMAN:       Okay.    And we've agreed,
   9   so I'll say it for the record, that we will be e-mailing
 10    a copy of the report as it was already filed with the
 11    court at docket number -- I believe it was 50-31.                 So
 12    we'll be making that an exhibit to this
 13    deposition.      Agreed?     [emailing report?]
 14                     MR. WAPLES:      Yes.    And we're pretty sure
 15    that's the right docket number.            If it's not, we'll get
 16    the right docket number.          But that's our information
 17    that that's the docket number.
 18                     MS. SCHNEEMAN:       Right.    Right.
 19         Q.     (By Ms. Schneeman) Okay.          I just wanted to make
 20    sure that you had a copy of your expert witness report
 21    in case you wanted to refer to it.             I -- just to kind of
 22    let you know where we're going with this, I have some
 23    questions that I first want to start off asking you
 24    about your CV, which is at the end of that document.                   I
 25    noticed at the top of your CV, it would be page 1 of 36,
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   1   and it's titled Texas State (indiscernible) Vitae.
   2                    THE REPORTER:       You're breaking out.        Wait
   3   a minute.      You broke out.      You said it's titled Texas
   4   State?
   5                    MS. SCHNEEMAN:       University Vitae,
   6   V-I-T-A-E.
   7        Q.     (By Ms. Schneeman) And there's what appears to
   8   be a document number at the top right-hand corner.                  It
   9   reads PPS 8.10, Form 1A.          Do you see that?
 10         A.     Yes, I do.
 11         Q.     Does that have any meaning to you?
 12         A.     The PPS is -- I think it stands for policy and
 13    procedure statement or something similar.               They're just
 14    forms and procedures -- sorry, procedures, policies, and
 15    then in some cases associated forms that Texas State
 16    University uses for various things.             I would suspect
 17    that PPS 8.10 was about the format that we're supposed
 18    to follow when we prepare our professional vitae for the
 19    university.
 20         Q.     Okay.    Thank you.      And that brings me to my
 21    next question.       How long have you been with Texas State?
 22         A.     It will be 14 years in August of this year.
 23         Q.     Okay.    And you're a full tenured professor?
 24         A.     Yes, I am.
 25         Q.     Okay.    And how long have you been a full
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   1   tenured professor there?
   2        A.     I think it will be ten years this September.
   3        Q.     Okay.    I want to ask you some questions about
   4   the courses that you've taught, and they're listed on
   5   Page 2 of that vitae.
   6        A.     Okay.
   7        Q.     What is that first course, Environmental
   8   Criminology?      Can you kind of briefly summarize that?
   9        A.     Environmental criminology is concerned with the
 10    influence of the built environment on crime patterns,
 11    how, where and when they occur.            So, for example, the
 12    street layout, the positions of rapid transit or bus
 13    lines, where people live, zoning, where liquor
 14    establishments and bars and nightclubs are located.                  So
 15    rather than like much of criminology, focusing on why
 16    does someone decide to offend, it takes that as a given
 17    and looks at the influence of the environmental on the
 18    patterning of their crimes, particularly where and when.
 19         Q.     Okay.    And the next class, Investigations, what
 20    -- briefly summarize what was taught in that class.
 21         A.     It's a class that I co-taught with Dr. Peter
 22    Blair, and my particular portion of the class was on the
 23    logic and rationale of investigative thinking, how to
 24    understand and analyze evidence, and some of the
 25    cognitive biases that can occur in that criminal
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   1   investigation.
   2        Q.     Okay.    What -- what kind of students did you
   3   have in that class?        Are those students working towards
   4   like a BA or a BS?        It said master's level, maybe
   5   they're university level master students?
   6        A.     Yes, they would all be master students.              Some
   7   would be just working towards a masters.               Some would
   8   maybe be hoping to become doctorate students later.                   For
   9   that particular class, we probably had a higher
 10    proportion of criminal justice professionals, such as
 11    police officers, than we might see in a general class.
 12         Q.     There were law enforcement professionals such
 13    as patrol officers, sergeants, detectives, that sort of
 14    thing, they were in the class as well?
 15         A.     Correct.
 16         Q.     Okay.    And those persons, would they be working
 17    towards a degree or would that just -- the class was
 18    open to them because of their profession?
 19         A.     No, they would be working towards a degree.
 20         Q.     What did you teach about the logic and
 21    rationale of investigative thinking in that class?
 22                     MR. WAPLES:      Objection, overbroad.         You
 23    can answer.
 24         A.     I'm not sure I can because I don't have the
 25    course syllabus handy and the last time I taught it was
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   1   a few years ago.        What I can remember is we would often
   2   introduce some part of a well-known crime and ask
   3   students to consider various theories of how the crime
   4   occurred.      And then we would go back later and say, did
   5   you rationally follow the evidence or did you, for
   6   example, jump to a conclusion, which was a common
   7   failing in the classroom in those classroom exercises.
   8                    But I should maybe mention one thing just
   9   for clarification, Ms. Schneeman, because I'm a research
 10    professor, I don't normally have teaching duties, so
 11    I've taught very few classes compared to a typical
 12    professor.      I've taught some, either because I was
 13    interested in or to help out.           But normally I do not
 14    teach.     And the last time I taught was probably four
 15    years ago.      Last time I did the investigations class may
 16    have been five years ago.          So my main job is to do
 17    research.
 18         Q.     Okay.    What sort of research do you focus on?
 19         A.     Currently I have two National Institute of
 20    Justice grants.       The National Institute of Justice is
 21    the research body within the Department of the Justice.
 22    One of those projects is looking at offender
 23    decision-making, and the other one is looking at
 24    criminal investigative failures within the sentinel
 25    events' perspective.
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   1        Q.     With respect to your current research on
   2   criminal investigative failures, you said with respect
   3   to sentinel incidents?
   4        A.     Sentinel events.
   5        Q.     Sentinel events.       Explain what that is that
   6   you're researching there.
   7        A.     A few years ago, partly as a result of some
   8   efforts by a Boston defense lawyer by the name of Jim
   9   Doyle, there began to be a recognition within the
 10    National Institute of Justice and within a number of
 11    police and university and criminal justice agencies that
 12    whenever we have a failure, rather than try to -- let's
 13    take an example of a shooting that maybe shouldn't have
 14    occurred.      So the traditional approach has been very
 15    punitive in which you do -- you may get some justice
 16    that way, but you don't necessarily learn from the
 17    tragedy.     So the sentinel events' approach is adopted
 18    from the transportation industry and from the medical
 19    field, so that when an error occurs, there's an effort
 20    to understand how things went wrong, why they went
 21    wrong, with the idea of coming up with initiatives to
 22    try to prevent those failures in the future.
 23                     So an airplane crash is, there's a very
 24    comprehensive investigation as to why that occurred.                  If
 25    there's an unnecessary death that happened in a
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   1   hospital, the same thing.          And the goal is to, first of
   2   all, recognize is that most of these failures have
   3   multiple causes, and the second part of it is to figure
   4   out what can be done to change things from a system-wide
   5   perspective to prevent something like that from
   6   happening in the future.
   7                    And so my particular research project is
   8   taking a look at this within the context of what we call
   9   criminal investigative failures.            Most criminal
 10    investigative failures are wrongful convictions, at
 11    least the ones we know about.           Some are crimes that
 12    should have been solved that weren't.              And others are
 13    crimes that were just ignored by police when -- and no
 14    response was given to them and then that led to other
 15    tragedies.
 16         Q.     Okay.    So I guess if I understand your
 17    testimony, even though there's some courses taught
 18    listed here on your CV, that teaching isn't really your
 19    area of focus, it's more research; is that correct?
 20         A.     That's correct.
 21         Q.     Okay.    And you probably haven't taught a class
 22    in the classroom in the last four or five years.                 Am I
 23    understanding that as well?
 24         A.     I'm going to say at least four years, yes.
 25         Q.     Okay.
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   1        A.     To be clear, though, I do a lot of teaching
   2   through presentations, but in terms of a formal Texas
   3   State class, not for four years.
   4        Q.     Okay.    The teaching that you do, is it -- I
   5   guess you mentioned the -- like not the course teaching
   6   but I guess the periodic presentations, is that a good
   7   way to put it?
   8        A.     Seminars, presentations, talks, guest lectures.
   9        Q.     Right.    What types of groups do you make those
 10    presentations to?
 11         A.     It's very varied.        Many are to police officers,
 12    homicide detectives, forensic scientists, defense
 13    lawyers, occasionally prosecutors, many universities.                   I
 14    just returned from a homicide conference in Wisconsin,
 15    and that was a state-wide collection of people in police
 16    and related fields like coroner's offices, and so that's
 17    one example.      I gave one not too long ago to the Arizona
 18    State Homicide Investigators Association.               I'm giving a
 19    university talk, university-wide talk next week.                 So I
 20    would say probably roughly equally between academics and
 21    professionals and then sometimes just other groups that
 22    might be interested in something.
 23         Q.     Right.    Now, when I looked through the
 24    different -- if I'm reading your CV correctly, it looks
 25    like you have done a lot of work in the subject of
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   1   geographic profiling; is that correct?
   2        A.     That is right.
   3        Q.     Yeah.    Is that your main area of expertise?
   4        A.     I would say that I have two main areas.              One of
   5   them is the geography of crime, and the other is
   6   criminal investigative failures.            They both intersect in
   7   the area of criminal investigations.
   8        Q.     Okay.    Now, I understand that you -- you have
   9   actually been a police officer yourself; is that
 10    correct?
 11         A.     That's correct.
 12         Q.     Okay.    And that was in Canada?
 13         A.     That was Vancouver, British Columbia, Canada.
 14         Q.     Okay.    And remind me, what years were you a
 15    police officer, from what year to what year?
 16         A.     I started with the Vancouver police department
 17    in 1978 as civilian communications section.                In January
 18    1980, I became a sworn officer, and I was with them
 19    until the end of December 2000.
 20         Q.     Okay.    And during -- during that period of time
 21    that you were with that agency, did you have
 22    responsibility for investigating homicides?
 23         A.     I was not a homicide detective, but for my last
 24    five years, I was detective inspector in charge of our
 25    geographic profiling section, and most of the cases that
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   1   we worked on were serial murder or serial rape cases.
   2        Q.     I'm sorry, you said serial murder and serial
   3   rape?
   4        A.     Yes.
   5        Q.     And what did your duties and responsibilities
   6   include as the --
   7                    (Phone interruption.)
   8                    MS. SCHNEEMAN:       Sorry, we got a phone call
   9   going here.
 10         Q.     (By Ms. Schneeman) So you said that the last
 11    five years you were with the department --
 12         A.     The last five years I was the officer in charge
 13    of a section within the Vancouver Police Department
 14    called the Geographic Profiling Section.
 15         Q.     Right.    Okay.    And so what were your duties and
 16    responsibilities as the officer in charge of that
 17    section?
 18         A.     To prepare geographic profiles and give
 19    investigative advice for appropriate cases for our
 20    agency, for other Canadian police agencies and for other
 21    agencies internationally.
 22         Q.     And if I'm understanding from your earlier
 23    testimony that geographic profiling, that has to do with
 24    how the geography or the scene influences crime?
 25         A.     Yes, specifically, geographic profiling is a
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   1   quantitative analysis of the crime locations of a
   2   connected series, so we would analyze where the crimes
   3   occurred, associated, say, with a particular serial
   4   killer.     Through a computer program we would then do a
   5   number of calculations that would produce maps that
   6   would outline the most probable area where the offender
   7   was based or where he resided.            This would then be used
   8   by investigations for their strategies, for example,
   9   prioritizing suspects.
 10         Q.     So would that involve, once you've mapped a
 11    particular area and you're looking for, I guess,
 12    patterns of where crime occurs, then you look for
 13    suspects within that area?
 14         A.     Yes.    Think of it as working backwards.            One
 15    kind of simplified example would be if you had one of
 16    those old water sprinklers that went around in a circle
 17    and then you took away the water sprinkler afterwards,
 18    you could look at where the grass was wet and figure out
 19    where the water sprinkler was.            I mean, that's -- that's
 20    horribly simplified, but it's the idea.              The idea that
 21    any given crime location doesn't tell you much, but if
 22    you have a series of them, then you can produce
 23    probability surfaces or maps that give you some idea of
 24    where to try to find the needle in a haystack.                 These
 25    cases often involve hundreds or thousands of suspects so
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   1   where do you start?        And geography is one way of
   2   prioritizing them.        Not the only way, by any means.
   3        Q.     Okay.    Now, I know from your CV you provided
   4   some testimony in the David Camm criminal case here in
   5   Indiana; is that correct?
   6        A.     That's correct.
   7        Q.     And did you -- were you providing that
   8   testimony for the prosecutor or the defense?
   9        A.     For the defense.
 10         Q.     Do you remember the attorneys that you worked
 11    with?
 12         A.     Stacy Uliana.
 13         Q.     Do you remember how to the spell her last name?
 14         A.     U-L-I-A-N-A.
 15         Q.     And did you prepare a written report, maybe
 16    something maybe not as long as the one you prepared in
 17    this case, but did you prepare any kind of written
 18    report in the David Camm case?
 19         A.     Yes, I did.      Well, I had a report.         I don't
 20    know if it was something that became evidence, but I
 21    wrote a report for my purposes.
 22         Q.     Okay.    And do you know how many times David
 23    Camm went to trial?
 24         A.     In this criminal matter, three times.
 25         Q.     Yeah.    Were you employed for the third of the
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   1   three?
   2        A.     Yes.
   3        Q.     Okay.    And I wasn't sure from your CV whether
   4   you gave trial testimony or deposition testimony.                 Do
   5   you recall?
   6        A.     In the Camm matter?
   7        Q.     Yes.
   8        A.     I gave a deposition similar to this, but it was
   9   just by telephone, and then I testified in the trial.
 10         Q.     Okay.    So, actually, you did both?
 11         A.     Yes.
 12         Q.     Okay.    And it looks like from your CV, so
 13    correct me if I'm wrong, and I know you did say earlier
 14    that you don't take many expert witness cases, but so in
 15    the last four years, other than the case that we're here
 16    today and the and the David Camm case (sound fading out)
 17    --
 18                THE REPORTER:      Wait a minute.       When you're
 19    doing that, that's cutting her out.
 20                     THE WITNESS:      Oh, sorry.      Okay.
 21                     THE REPORTER:       I'm sorry, we were touching
 22    the microphone there and cutting you out, so.
 23                     THE WITNESS:      Moving papers around.         I'm
 24    sorry.
 25                     THE REPORTER:       "Other than the case that
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   1   we're here for today and the David Camm case"?
   2        A.     The David --
   3        Q.     (By Ms. Schneeman) Yeah.
   4        A.     The David Camm case is the only case in the
   5   last -- I think, was it four years, that I gave
   6   testimony for.
   7        Q.     Okay.    If we go could go back another four
   8   years, have you given -- been retained to provide any
   9   kind of expert testimony in cases going back eight
 10    years?
 11         A.     I'm not quite sure how to answer that, again,
 12    without checking dates, and depends how you define
 13    expert testimony.        I've been retained to do expert work
 14    but not testified.        I've testified at commissions of
 15    inquiry because of my expertise but also because of my
 16    involvement in some other cases.
 17         Q.     Okay.    Well, let me ask you about that.
 18    Commissions of inquiry, I have to say I don't do
 19    criminal law so I -- it's not a term I'm familiar with
 20    here in Indiana.        Is that something that they --
 21    commissions of inquiry, is that something that they do
 22    down in Texas?
 23         A.     No, in Canada.
 24         Q.     Oh, in Canada, okay.        And is that sort of -- is
 25    that natural analogous like a grand jury in the States?
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   1        A.     No, I guess maybe the closest thing might be
   2   like Senate hearings or investigations.              So they would
   3   be commissioned by a federal or provincial government to
   4   look at something that went wrong, with the idea being
   5   to figure out what occurred and what should happen in
   6   the future.
   7        Q.     Okay.    So it's -- correct me if I'm wrong.             I'm
   8   just trying to get an understanding.              It would be sort
   9   of like an internal investigation almost where something
 10    has gone wrong and they're trying to figure out how to
 11    prevent it from happening in the future so this
 12    commission of inquiry is established and they're sort of
 13    kind of doing an internal investigation?
 14         A.     Maybe I would say internal is not the best
 15    word, because it would involve multiple agencies and
 16    multiple people.        They have subpoena power and often
 17    they go on for months, if not years.
 18         Q.     Okay.    I think that gives me an idea of the
 19    kind of work that you've done.
 20                     When is the last time that you were
 21    involved in providing testimony for one of the
 22    commissions of inquiry up in Canada?
 23         A.     It would have been -- I probably could tell you
 24    from my vitae, but it was the commission inquiry in to
 25    the missing women case in Vancouver, which would have
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   1   been around 2010.        And it involved a matter of a number
   2   of street sex trade workers who had gone missing.                 Our
   3   police department really ignored the problem or
   4   underplayed it, coming to a conclusion that they had
   5   just moved somewhere else.           And that resulted in several
   6   more murders occurring.          They had actually been victims
   7   of a serial killer known in the press as the pig farmer.
   8   And he -- I think they found the DNA for 37 different
   9   women, but he probably did about 49.              So it was a major
 10    disaster, and the province had an inquiry in to what
 11    went wrong.      And I was asked as to testify for that.              I
 12    believe, yeah, 2012.         Missing -- I gave evidence as an
 13    expert for the British Columbia missing women commission
 14    of inquiry.
 15         Q.     Okay.    And if I understand what you're telling
 16    me, the situation that they were trying to address there
 17    is why they couldn't find the suspect or the
 18    perpetrator?
 19         A.     They --
 20         Q.     -- when they needed --
 21         A.     They weren't even looking for him, which was
 22    what the problem was, and when they did, they were
 23    seriously underresourced.          They didn't take the problem
 24    seriously enough.
 25                     Ma'am, if this is any help, on my full
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   1   vitae, the university vitae, at the bottom of page 25,
   2   the top of 26, are a list of consultancies that I've
   3   been involved in, and they include the commission
   4   inquiries and some of the other case reviews that I've
   5   done for different agencies that relate to such aspects
   6   of wrongful convictions or failed investigations.
   7        Q.     Okay.    Thank you.      I -- that is helpful because
   8   I guess I didn't -- I didn't recognize what that was
   9   exactly.
 10                     So on that Page 25 of 36, the report on
 11    confirmation bias in the David Camm murder cases, that
 12    was a consultancy.        What did that involve and who did
 13    you report to?
 14         A.     Sorry.    Do you mean my role during the criminal
 15    trial of David Camm?
 16         Q.     Well, you just referred me to Page 25 of 36 of
 17    your Texas University CV and the section on
 18    consultancies, and you have listed four down, if you're
 19    there with me.
 20         A.     Oh, oh, yes, okay.        Yes, that was what we were
 21    talking about before.
 22         Q.     Okay.    So it's kind of listed there on your
 23    resumé twice, but it's the same thing.
 24         A.     Where --
 25         Q.     That wasn't -- that wasn't a separate
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   1   independent commission.          You provided the expert
   2   services in connection with the criminal proceedings.
   3        A.     Can I just --
   4        Q.     Uh-huh.
   5        A.     Sorry, can I -- you say it's listed twice, so
   6   just to double-check, can you tell me the other place
   7   it's listed?
   8        Q.     Sure.    This may not be on your actual CV, but
   9   on Page 63 of your expert report, it says a list of all
 10    other cases in which during the previous four years the
 11    witness testified as an expert at trial or by
 12    deposition, and it lists State of Indiana versus David
 13    Camm.     And then you're calling that a consultancy on
 14    your CV on Page 25, so that's the same thing?
 15         A.     Yes.
 16         Q.     Okay.    I got it.     What's the review of the
 17    Stevens police investigation in Fredericksburg, Texas
 18    about?
 19         A.     It was -- I'm sorry, you have to excuse me
 20    because I take a look at a lot of investigations over
 21    the course of a year so I'm -- just don't want to mix
 22    something up.       But it had to do with a sexual assault
 23    allegation made by a student to a teacher in her school,
 24    and the response by the police and the school to her
 25    allegation was dismissive.           The teacher had a prior
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   1   history of having some sort of improper relationship
   2   with a -- with a high school student, as well, and I was
   3   asked to take a look at whether or not I thought there
   4   were problems with how the police had investigate --
   5   investigated the matter.
   6        Q.     Okay.    So I think the -- the impression that
   7   I'm getting of what you do is that you -- you look for
   8   police failures, not only in what they actually did, but
   9   in what they failed to do.           So when they don't
 10    investigate something at all, you're also analyzing
 11    those types of situations.
 12         A.     Well, just to put this into context, I don't
 13    look for anything.        I get approached.        I probably -- and
 14    there's many police investigations that I get involved
 15    with for the police that you don't see listed here
 16    because my involvement is -- is -- if the investigation
 17    is ongoing, then I'll typically not list it.                So we're
 18    not looking at that part of it.            We're only looking at
 19    the ones here that I've listed where there's some major
 20    consultation that's not an ongoing operational police
 21    matter.     So I just wanted to clear that up.             So most of
 22    my -- my work of that nature is assisting the police in
 23    an unsolved crime or investigation.             There will be other
 24    times where things didn't go well, and I would be
 25    approached to ask if I could provide some help.                 And
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   1   that could be one of two forms.            It could be we're still
   2   trying to catch the guy.          We made a mistake some years
   3   ago, we screwed up.        Is there anything here we need to
   4   think about or to reconsider.           Other times it will be
   5   more operational or more administrative in nature.                  So,
   6   for example, I think one of the ones listed here is for
   7   the case review of the John Jerome wrongful conviction,
   8   so that was done for the Georgia bureau of
   9   investigation, and they wanted to know where they erred,
 10    what they might be able to do to prevent such errors
 11    from occurring in the future.
 12                     You know, the one below is quite a typical
 13    one.    It was the cold case review for an unsolved
 14    homicide of, actually, someone that lived in San Marcos
 15    many, many years ago, and they were looking for new
 16    ideas.
 17                     In a case that's going to go to like a
 18    civil matter or a wrongful conviction -- sorry, a
 19    criminal trial where there may be a wrongful conviction
 20    involved, I might get involved there if I think there
 21    were problems in the investigation.             Maybe if I go to
 22    your original question, the problem could be one or two
 23    forms.     Something that was done that shouldn't have been
 24    done and something that wasn't done that should have
 25    been done.
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   1        Q.     Have you ever met Charles Benner, the defendant
   2   in this lawsuit?
   3        A.     No.
   4        Q.     Other than reading his deposition transcript in
   5   this case, you've not talked with him, have you?
   6        A.     I've not talked with him, no.
   7        Q.     Do you know anything about his work in other
   8   cases, other investigations that he's handled?
   9        A.     No.
 10         Q.     On Page 4 of your expert report, you have
 11    written that Benner decided (audio breaking out) --
 12                      THE REPORTER:      You're breaking out.
 13    You'll have to start over on that question.
 14         Q.     (By Ms. Schneeman) Doctor, on Page 4 of your
 15    expert report, you wrote that in less than a day, Benner
 16    determined that William Rainsberger was guilty.                 Are you
 17    with me there?
 18         A.     So is it the section called Introduction?
 19         Q.     Yes.
 20         A.     Yes, okay, go ahead.
 21         Q.     Okay.    Based on what fact do you draw the
 22    conclusion that Benner decided that Rainsberger was
 23    guilty within a day?
 24         A.     Based on his actions and the depositions of
 25    William Robert and Rebecca Rainsberger and of the
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   1   various depositions and testimonies of Detective Benner.
   2        Q.     Okay.    What specifically about Benner's actions
   3   caused you to draw the conclusion that Benner concluded
   4   Rainsberger was guilty within a day?
   5        A.     Well, the beginning, he is the son of a murder
   6   victim, and the police lock him in a police car.                 Don't
   7   allow him to use a bathroom.           They then take him to the
   8   police station and then bring him back the next day.
   9   But this -- if you give me a moment, I can find specific
 10    quotations from Detective Benner regarding --
 11         Q.     Well, let's -- sure.        Let me follow-up on what
 12    you said while you're looking there.              Why do you think
 13    that the conclusion was made he was guilty because he
 14    was Ruth Benner's son?         Let's break this down.
 15         A.     Okay.    So you've asked me two things, so let me
 16    first of all look for the first question, and then I'll
 17    come back to the second question.
 18         Q.     Right.    Well, my first question was within a
 19    day, and I asked about the actions and you wanted to
 20    turn to testimony and I want to focus on the actions
 21    first, which is -- which is what I wanted to focus on.
 22         A.     Maybe I don't understand.          Not being there, all
 23    I can go on is the -- the testimony or the statements of
 24    the people that were there.           So I didn't see anything
 25    myself.     And so I'm just now trying to find those
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   1   quotations from Detective Benner where he indicated when
   2   he came to that conclusion.
   3        Q.     Okay.
   4        A.     So he makes -- on Page 30, he has some quotes
   5   about his -- a belief that he has, an erroneous belief,
   6   but a belief that he has that he said learned in
   7   homicide school that covering the victim's face shows a
   8   personal attachment, so it indicates that as assuming as
   9   he heard about that, he was starting to look at
 10    something personal.        His concluding line is, "All these
 11    things together, you could say seems suspicious to me at
 12    the time," at the time being when he first arrived at
 13    the crime site.       His conclusion that nothing had been
 14    burglarized or nothing had been rifled through, there
 15    was no forced entry.         So that's the first indication.
 16    As the homicide detective at the scene, he's in charge
 17    of it, and so he's in charge of how William Rainsberger
 18    was treated, which certainly was not how would you treat
 19    the victim of a homicide -- or sorry, a relative of a
 20    homicide victim on the same day that she was discovered.
 21    You know, basically locking somebody into the back of a
 22    police car, whatever you may call it afterwards, is
 23    confining him and placing him under some form of arrest.
 24    And you -- that would indicate a lot about what he was
 25    thinking about the -- about the suspicions of William
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   1   Rainsberger.       He makes other comments about how, by the
   2   next day, during the -- his efforts to trick the family
   3   to come down to police headquarters to do a polygraph
   4   test, and then they became upset.             And this was all
   5   within 24 hours of the phone call that at that point in
   6   time, he had come to the conclusion that he was the
   7   prime suspect.       Again, I'm just trying to find you the
   8   exact quotation.
   9        Q.     Direct me where in your expert report Benner
 10    said within 24 hours he concluded Rainsberger was
 11    guilty.     And that's Rainsberger, meaning, William.
 12         A.     Okay.    So there's a number of pieces here.
 13    I'll just sort of point them out as I go along.                 Page
 14    33, he tells Rebecca Rainsberger that his strategy is
 15    every homicide investigation starts with the family.
 16         Q.     Okay.    Where -- okay.       You say on Page 33 you
 17    got a quote from Detective Benner where he told Rebecca?
 18         A.     Yes.
 19         Q.     Okay.
 20         A.     He told Rebecca his -- right at the top, his
 21    strategy was --
 22         Q.     What Rebecca says, right, not what -- what
 23    Benner said?
 24         A.     What Rebecca said.
 25         Q.     Right.    You're -- you're trusting that Rebecca
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   1   was telling you the truth about that?
   2        A.     Well, like -- as I said, ma'am, I wasn't there
   3   at the time, so I can only go on the statements, on the
   4   testimony, the depositions of the people that were
   5   there.     But if you give me a moment, I -- I will find
   6   the part where Detective Benner basically comes to the
   7   same conclusion, and I believe it's where he -- the part
   8   where -- just give me a moment and I will find it,
   9   rather than me trying to guess.
 10                     The last paragraph, this is on Page 4:
 11                     "I spoke to Becky the day after the
 12    autopsy, and I think I made it pretty clear at that
 13    point that William was a suspect in the case.                But it
 14    was very clear to the family that William was a suspect
 15    in the case, so I saw no need to call her.               I --
 16    referring to call her back and tell her that at that
 17    point."
 18                     "So you never returned her calls?"
 19                     "I did not, no."       And then there is --
 20         Q.     Okay.    After the autopsy --
 21         A.     Yeah.
 22         Q.     -- in the middle of Page 24.
 23         A.     Yeah.
 24         Q.     Okay.    And do you know what day the autopsy was
 25    done?
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   1        A.     She -- the day after she was found by her son,
   2   and then I think it was done in the early morning hours
   3   or something like that.
   4        Q.     Well, let me ask you a question about that.
   5   Determining that a person is a suspect is different than
   6   determining that they're guilty, correct?
   7        A.     That's correct.
   8        Q.     Okay.    And guilt and probable cause are two
   9   separate concepts, two different things, right?
 10         A.     Correct.
 11         Q.     And so are you telling us that it was
 12    inappropriate for Detective Benner to identify William
 13    Rainsberger as a possible suspect within a day of the
 14    murder?
 15         A.     There's an old saying in a homicide
 16    investigation that everyone is a suspect.               It just comes
 17    down to a matter of degree.           And his -- first of all,
 18    his treatment of the Rainsbergers was premature and very
 19    unprofessional.       And then the subsequent arrest of
 20    William Rainsberger, based on the evidence outlined in
 21    his initial probable cause, was -- was not reasonable or
 22    justified.
 23         Q.     Okay.    Well, I want to focus on -- I want to
 24    focus on the statement that you've made about Benner
 25    determining that Rainsberger was guilty.               What is your
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   1   understanding of the term guilt?
   2        A.     My understanding of the term guilt?
   3        Q.     Yes, as a legal concept.          You've used the word
   4   in your report.
   5        A.     Well, if you believe someone is guilty, then
   6   you believe that they're the one responsible for the
   7   crime within the legal definition.
   8        Q.     Okay.    And why do you think that -- you read
   9   for me your own report and Detective Benner's words that
 10    he had identified Rainsberger as a suspect, but you're
 11    saying in your report that Benner had concluded he was
 12    guilty.     Why are you drawing that conclusion?             That
 13    seems like your conclusion, not Benner's conclusion.
 14         A.     Well, if he considered William to just be a
 15    suspect, he would have expected him to explore all
 16    viable options, including the other Rainsberger
 17    children, including the -- the drug deal-burglary -- or
 18    the drug matter-burglary gone wrong, any number of other
 19    things.     And it was very clear that he became almost
 20    completely focused on William Rainsberger, and the
 21    efforts he made on those other matters were minimal to
 22    nonexistent.
 23                     And the report outlines a number of those
 24    examples.      For -- for instance, how -- the brother and
 25    the sister of Bill Rainsberger were treated, even though
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   1   most of the elements in the probable cause also applied
   2   to them.     Failure to obtain certain elements of physical
   3   evidence.      And most problematic, I guess, would be his
   4   failure to search around the apartment building to
   5   identify the people in the apartment complex.
   6         Q.    Okay.    Well, let me ask you this then:            How
   7   many -- do you think that a detective investigating, I
   8   suppose, any crime, but a homicide, in particular,
   9   should wait a particular number of days or weeks or
 10    months before identifying a suspect?
 11          A.    Well, as I said before, you start off in --
 12    there are multiple suspects.           If you jump to a
 13    conclusion and say --
 14          Q.    So are you -- is a -- is a detective required
 15    to wait a certain number of days?             It seems that you're
 16    putting emphasis in that William Rainsberger was
 17    identified as a suspect within a day, and you're
 18    suggesting that that's inappropriate.              So my question
 19    is:    Is there a particular number of days that a
 20    detective should wait?
 21          A.    It has really nothing to do so much with the
 22    time as it has to do with the evidence in the case.                   So
 23    at this point in time, the physical -- the laboratory
 24    analysis of the physical evidence hadn't been --
 25          Q.    I'm sorry, I didn't pick up a word.             The --
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   1        A.     The analysis of the physical evidence recovered
   2   from the crime scene had not been completed.                The
   3   neighborhood canvas had not been done.              The proper
   4   analysis of the phone records had not been done.                  All
   5   the things that you would expect an investigation to do
   6   in terms of establishing what are the reliable facts in
   7   the case had not occurred.           What Bennet did was he
   8   jumped to, "oh, a family member" and -- and he didn't
   9   change his mind after that.
 10         Q.     But you agree with me there's a difference
 11    between identifying someone as a suspect and concluding
 12    that they're guilty, correct?
 13         A.     Yes, I agree with you.
 14         Q.     Okay.    And you also agree that there's a
 15    difference between probable cause for an arrest and
 16    guilt.     Do you agree?
 17         A.     Well, they're sort of different concepts.
 18         Q.     Exactly.     And you've written down there that in
 19    less than a day Benner concluded that Rainsberger was
 20    guilty, not just that he was a suspect, not just there
 21    might have been probable cause to further investigate,
 22    that he was guilty.
 23         A.     Well, there's -- I think we're mixing up some
 24    things here.      So, first of all, is he a suspect?              Yes,
 25    and so were hundreds of other potential people.                   Anyone
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   1   with a prior criminal --
   2        Q.     Let me ask you, what --
   3        A.     Well, can I -- can I finish the question --
   4        Q.     Well --
   5        A.     -- answer the question?
   6        Q.     Yes, go right ahead.
   7        A.     Okay.    So the suspects would have included
   8   individuals engaged in possible stranger crimes in that
   9   area, should have been considered suspects.                The --
 10    William, Robert and Rebecca Rainsberger would have all
 11    been considered suspects.          Anyone else, there would have
 12    been some association to the victim, could have been a
 13    suspect as well.        So you -- you have all these suspects
 14    and then you start -- you don't go out and arrest them
 15    all.    You don't jump to a conclusion that that's the
 16    person before you have your evidence and you've analyzed
 17    your evidence and you've thought about your evidence.
 18    And that's -- that's not what happened in this case.
 19         Q.     Right.    William Rainsberger wasn't arrested
 20    immediately though, correct?           (indiscernible) wasn't
 21    filed for several months.
 22         A.     Well, we can argue whether locking him in the
 23    back of a police car is an arrest or not, but --
 24         Q.     He wasn't taken into custody and charged for a
 25    crime at that point, correct?
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   1                    MR. WAPLES:      Objection, compound question.
   2        Q.     (By Ms. Schneeman) You can go ahead.
   3        A.     Yeah.    Well, I would say he was taken into
   4   custody, so, you know.         Now, there was also some effort
   5   earlier on to try to lay charges, though the prosecutor
   6   felt more evidence was required.            So they -- I think
   7   they recognized how weak the case was.              At the end of
   8   the day, and, of course, the case was dropped, the
   9   evidence was so bad.
 10         Q.     Well, let me ask you this:          Are there certain
 11    investigatory steps that you believe a detective must
 12    perform before he or she can identify someone that is a
 13    suspect?
 14         A.     Yeah, they should collect the evidence and
 15    analyze it.      They need to consider a theory that
 16    explains the evidence.         They need to consider
 17    alternative theories.         They don't walk into a crime
 18    scene and go, hey, you know, I'm experienced, I'm good,
 19    I know what happened here.
 20         Q.     And you never talked with Detective Benner, and
 21    you think he thought he thought that?
 22                     MR. WAPLES:      Objection, asked and
 23    answered, argumentative.
 24         Q.     (By Ms. Schneeman) You're -- you're thinking
 25    that that had to be what was in Detective Benner's mind.
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   1        A.     I don't know what was in Detective Benner's
   2   mind, but I know what he said in his testimony and his
   3   depositions.
   4        Q.     Is it your opinion that family members of a
   5   murder victim should not be immediately interviewed?
   6        A.     I think you need to balance the circumstances
   7   and the tragedy, because in many cases, the family
   8   member will not be responsible.            We're kind of --
   9   Detective Benner does this:           He conflates the
 10    probability of a murder created by someone in a
 11    relationship with family generally.             And I think in the
 12    report there's some specific statistics from the FBI
 13    about how unlikely it is that a son will murder the
 14    mother.     So we have to make sure that we separate out
 15    the relationship probability in a family murder
 16    situation with some other relationships such as being
 17    the son of the murder victim.           That's not particularly
 18    high.     In fact, it's much lower than the probability of
 19    a stranger committing such a murder.
 20         Q.     And in your conclusion, I know you said earlier
 21    that you don't take a case unless you think the person
 22    is innocent and you're -- you've come to the conclusion,
 23    based on what you reviewed, that this was a stranger
 24    break-in gone bad crime?
 25         A.     I've -- I've come to no conclusion regarding
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   1   who did it.      I've come to the conclusion that this was a
   2   flawed investigation.
   3        Q.     Okay.    Well, that wasn't my question.            I --
   4   your conclusion is that this was a burglary gone bad?
   5        A.     No, I never said that, and I did answer your
   6   question ma'am. I said I have no conclusion about who
   7   did this.      I was not asked to investigate this case.              I
   8   could not investigate this case at this point in time
   9   with the information that I have.             I can only analyze
 10    the nature of the criminal investigations in the
 11    presence of tunnel vision and confirmation bias.
 12         Q.     Okay.    Well, let me refer you to Page 31 of
 13    your expert report.        At the top you state, "Benner
 14    failed to consider the very real possibility that the
 15    murder was a burglary or robbery gone bad."                I'm getting
 16    the impression that you think that that's what happened.
 17    That's not the case?
 18         A.     Well, what I said in the report, it's a very
 19    real possibility.        One that should not be discounted,
 20    one that needs to be investigated and explored.                 But you
 21    can't say that's my conclusion because I say it's a real
 22    possibility.      And unfortunately, that investigation,
 23    that aspect of the investigation did not occur.                 We have
 24    no list of all the tenants.           This really was one of the
 25    worst neighborhood canvasses that I've -- I've reviewed.
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   1   People had the opportunity to move away before Detective
   2   Benner went back there.          He didn't think it was
   3   important to look in the -- the trash disposing unit for
   4   the apartment building, even though the murder weapon
   5   had not been found.
   6                    There's -- there's a half-life of
   7   evidence.      So that means that physical evidence,
   8   witnesses, witnesses' memories, all start to deteriorate
   9   for one reason or another over time.              So you have to
 10    respond quickly to get that information.               If you leave
 11    it, then it becomes much more difficult.               And that's
 12    what happened in this case.           There were -- there were
 13    serious lags in the -- in the timeline involved here
 14    because of the other cases Detective Benner was working
 15    on.
 16          Q.    Okay.    Well, what do you know about the other
 17    cases he was working on?
 18          A.    Just what he and Detective Tutor said, that
 19    they had maybe five or six other cases they were
 20    juggling and they couldn't keep coming back to this case
 21    all the time.
 22          Q.    How many cases do you think is appropriate for
 23    a homicide detective in a city the size of Indianapolis
 24    to have on a routine basis?
 25          A.    Well, I don't know the size of the homicide
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   1   unit in Indianapolis, but I do know that you need enough
   2   homicide detectives to properly investigate a case.
   3   This case was not properly investigated.
   4        Q.     Okay.    Well, do you think that one homicide
   5   detective can handle five cases at one time?
   6        A.     No, I don't think so.
   7        Q.     And why?     What do you base that opinion on?
   8        A.     Well, a typical response by the more
   9   professional homicide teams are four detectives assigned
 10    to a case with support from patrol officers.                The need
 11    to do a physical -- careful physical search of the
 12    entire area and identify all the tenants and visitors to
 13    those tenants has to be done.
 14         Q.     Right.    So how many detectives -- how many
 15    cases do you think a -- one homicide detective can
 16    handle at a time?        Not what was going on with this
 17    particular case.        And your answer -- I don't think I got
 18    an answer to my question.
 19                     MR. WAPLES:      I want to object because I
 20    think he was answering your question until you cut him
 21    off in his answer.
 22                     MS. SCHNEEMAN:       I think the witness is not
 23    answering my questions and answering what he wants to
 24    say.
 25         Q.     (By Ms. Schneeman) My question to you, sir:
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   1   Because you said that the detectives were overworked and
   2   couldn't handle the number of cases, you said -- and so
   3   I want to know how many cases you think a homicide
   4   detective can handle?
   5        A.     Well, I can't answer that because it would
   6   depend on the stage of the investigation.               Is the case
   7   solved and you're putting evidence together for court?
   8   Is it unsolved?       Are there any viable leads?           The
   9   answer --
 10         Q.     To do --
 11         A.     -- is what it takes to do it properly.
 12         Q.     Right.    What does it take -- can -- so is one
 13    homicide case too much for one homicide detective?
 14         A.     Well, it depends on the nature -- the nature of
 15    the homicide.       In some cases, ten homicide detectives
 16    will work on one case and that's all they'll do.
 17         Q.     Right.    Okay.    Well, let me ask -- let me move
 18    on to another question I have for you.
 19                     In -- on Page 5 of your report, in
 20    Footnote 1, you say, "There are only three ways to solve
 21    a crime; a witness, a confession or physical evidence."
 22    Do you see where you've written that?
 23         A.     Yeah.
 24         Q.     Okay.    What are your thoughts on circumstantial
 25    evidence?      Do you discount circumstantial evidence
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   1   entirely?
   2        A.     Well, the circumstantial evidence has to be in
   3   the nature of somebody confession to something, somebody
   4   that saw something or something that's physical in
   5   nature.
   6        Q.     Okay.    So relationships between people are
   7   irrelevant and being in the proximity of a crime is
   8   irrelevant, is that what you're saying?              That type of
   9   circumstantial evidence is irrelevant and shouldn't be
 10    considered?
 11         A.     No, it's not irrelevant, but how do you know
 12    someone has a relationship?           How do you know someone was
 13    in the area of a crime?          Usually, the fact that someone
 14    is in the area of a crime would be the product of other,
 15    some documentary evidence or maybe a cell phone record
 16    or maybe a witness.        So that's what it ultimately comes
 17    down to.     My point there is probably saying that you
 18    find people -- determination of whether someone did a
 19    crime or not is a function of the evidence, not of
 20    theories or hypotheses or speculation.
 21         Q.     Okay.    So also on Page 5 you use the term
 22    "investigative theory."          And you mentioned to me earlier
 23    today that you've got to test theories and, if your
 24    theory doesn't work, come up with another theory.                 So
 25    explain to me the importance of having an investigative
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   1   theory.
   2        A.     Well, as you're collecting your evidence, you
   3   need to put it together in -- in some sort of narrative
   4   that makes sense.        And you might, like, for example, in
   5   this case, Detective Benner's theory was that Ruth had
   6   been killed by William.          But alternative theories might
   7   have been that she was killed by another child or that
   8   she was killed in a robbery gone wrong.              And then, you
   9   know, you would have a number of theories that you would
 10    be considering and then you see how the evidence matches
 11    those theories, but you don't wedge yourself to a theory
 12    because then you'll start to get confirmation biases.
 13    So at this stage, the early stage, your theories are
 14    just all the possibilities that make sense, but those
 15    have to be --
 16         Q.     Okay.
 17         A.     -- constantly adjusted and revaluated as -- as
 18    your evidence comes in.          It may help guide you to
 19    looking for future evidence.
 20         Q.     Okay.    Let me -- so let me make sure I
 21    understand that.        So when you teach or you advise folks
 22    on how to conduct an investigation, do you -- do you
 23    think it's important for them to brainstorm the various
 24    investigative theories first and then pursue the
 25    evidence to see if it matches up with any of those
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   1   theories?      Is that -- is that what you're telling us?
   2        A.     The first step should be collecting and
   3   analyzing the evidence.          So you're going to have crime
   4   scene evidence.       You're going to have the autopsy.
   5   You're going have the results of a neighborhood canvas.
   6   Prior to at least those stages being completed, it's
   7   premature to start theorizing, because there could be,
   8   you know, ten different theories.             But what you find as
   9   a result of that may point to the need to look somewhere
 10    else for additional evidence.           But there's no, like,
 11    magic line where you shift gears, but at some point
 12    you're probably going to have all the information that
 13    you're going to find with that initial search and then
 14    at that point you need to think about it.
 15         Q.     Okay.
 16         A.     What do these pieces mean?          How do they fit
 17    together?
 18         Q.     So you -- theories come to detectives at
 19    different times, right?          They might have one theory and
 20    develop some evidence and get another theory but then
 21    maybe develop some evidence and go back to the first
 22    theory; is that correct?
 23         A.     Well, I would argue that detectives that are
 24    coming up with theories before they've collected and
 25    analyzed the evidence are going to have a problem
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   1   because then they'll run the risk of suffering from
   2   confirmation bias.
   3        Q.     Right.    Well, that's what I'm trying to
   4   understand because I -- I guess I need some help
   5   understanding from you.          Because you talk about the
   6   importance of having an investigative theory.                It could
   7   have been William.        It could have been Robert.           It could
   8   have been Rebecca.        It could have been a burglary gone
   9   bad.    And that all of those various theories, at least
 10    in your mind, existed.         It sounds to me like you're
 11    starting with a theory and then looking for what
 12    evidence fits into the theory.
 13         A.     Could you -- first of all, so I understand
 14    exactly what you're saying, could you tell me the point
 15    in the report where I say that it's important to have a
 16    theory so just so I'm understanding.
 17                     Also, ma'am, on Page 32, I found what I
 18    was looking for.        During a civil deposition Detective
 19    Benner said, "I was working on probably other cases,
 20    between six cases between November 19th and when he was
 21    arrested, so I was -- I didn't have the time to keep
 22    going back to this case like that."             And then Detective
 23    Tutor said he had something like five homicides.                 So the
 24    operative word, phrase here, is "I didn't have the time
 25    to keep going back to this case like that."                That meant
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   1   that he --
   2        Q.     Okay.
   3        A.     -- was overworked.
   4        Q.     But -- okay.      But my question to you was
   5   talking about the investigative theory, because you've
   6   talked earlier in your deposition today about the
   7   importance of investigative theories and pursuing all
   8   things.     And one of the things that you said is that you
   9   don't think Benner properly pursued the theory that it
 10    was a burglary gone bad.          And I know I pointed to your
 11    earlier today in your deposition -- or I'm sorry, in
 12    your expert report where you mentioned that you didn't
 13    think that that theory was adequately explored.                 Page 5,
 14    you use the word "investigative theory" in the first
 15    paragraph.      And then on Page 37, "intruder possibility."
 16    37, "intruder theory."         So you -- you have this -- you
 17    talk about these other theories that should have been
 18    explored, so it seems to me that you're focusing on a
 19    theory and driving the evidence.
 20         A.     No, no.     I'm -- I'm saying the opposite, that
 21    there could be multiple explanations for the crime or
 22    theories, but you need to, first of all, establish what
 23    your evidence is, and then what your evidence means, and
 24    then that helps you assess the various theories out
 25    there.
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   1                    Some theories may be more obvious than
   2   others at a particular point in time.              So, for example,
   3   given this particular crime, the fact that it was a
   4   revenge gang slaying is not a very good investigative
   5   theory, absence some evidence that we don't know about.
   6   But another victim found in another location under other
   7   circumstances with a different cause of death, that
   8   might be one of your possible viable theories.
   9                    So you need -- the problem is, is when you
 10    lock down and focus prematurely on one theory, to the
 11    exclusion of other theories, when you haven't looked at
 12    the evidence and considered what their meanings are for
 13    the various theories.
 14         Q.     Now, you talk about tunnel vision and
 15    confirmation bias, and you say on Page 7 of your report
 16    that tunnel vision is insidious and common.                When you
 17    assist with the investigation of homicide -- well, let
 18    me back up.
 19                     So you've made the statement that tunnel
 20    vision is insidious and also that tunnel vision is
 21    common on Page 7 of your report.            If that's the case,
 22    what do you recommend or what do you tell police
 23    officers that you train or work with how to avoid those
 24    pitfalls?
 25         A.     One of the first things is to not to
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   1   prematurely come to a conclusion, to keep all viable
   2   options open, particularly to the point of the
   3   collection and the analysis of the evidence.
   4                    Now, a number of police agencies have
   5   started -- or they have introduced discussion sessions
   6   where people talk about their cases and then other
   7   people in the group -- and there may be a designated
   8   gadfly whose job is to try to poke holes in the theory.
   9   And by formalizing the process like this and by
 10    assigning that role to somebody, people are much more
 11    willing to be critical.
 12                     Another is the option, which is a standard
 13    procedure in the United Kingdom, where after certain
 14    periods of time, I believe one month and then one year,
 15    if the homicide is unsolved, the case goes to somebody
 16    from a completely different agency, not your friend, not
 17    somebody you drink with, somebody looking to find what
 18    you've missed in your case, what needs to be done, what
 19    errors you may have done in your thinking, and they
 20    write a report which then goes back to the agency that
 21    has the murder in the first case.
 22                     Now, maybe I'll point out, the United
 23    Kingdom has a significantly higher homicide clearance
 24    rate than the average police agency in the United States
 25    has.    And I think some of the -- there's a number of
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   1   reasons for that, but errors in thinking about the case
   2   and probably even more important than errors is the
   3   initial resources to collect the evidence.               You have
   4   something to think about are critical factors for
   5   correctly solving a case.
   6        Q.     Now, so tunnel vision and confirmation bias,
   7   this isn't -- this isn't a phenomenon that just applies
   8   to law enforcement officials.           This is a phenomenon that
   9   applies in all sorts of scenarios and contexts?
 10         A.     Yes.    A human phenomena.
 11         Q.     A human phenomenon.
 12                     Did you develop tunnel vision or
 13    confirmation bias in determining that Benner had jumped
 14    to a conclusion?
 15         A.     You know, the exact same question that I was
 16    asked during my testimony for the David Camm case.                  My
 17    answer is I'd like to think no.            I've justified through
 18    quotations and logic, I believe, the various stages.                  I
 19    have no horse in this race.           I don't -- it doesn't
 20    really matter to me whether Detective Benner did his
 21    job -- a good job or not a good job, but I would prefer
 22    to seem he has done a good job.            But he didn't.       And
 23    there's questions here absent an answer.               And -- and I
 24    would have to say it's not an answer I could find in the
 25    documents available to me that suggests that the
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   1   investigation was flawed and problematic.
   2        Q.     Well, you do have a dog in the game because
   3   you're being paid, correct?
   4        A.     Well, like I said, I reject most of these, so
   5   I'm really not interested in them for the money.                 I
   6   could have reviewed the report and come up with
   7   different conclusions.         I still would have gotten paid.
   8   Believe me, if I have any bias, ma'am, it's I would like
   9   to see police do a good job.           I'm a retired police
 10    officer and do a lot of work with policing, and I just
 11    would like to see proper investigations and the right
 12    people locked up.
 13         Q.     Can you -- can you give me an example of a time
 14    that you've fallen prey to tunnel vision and cognitive
 15    bias?
 16         A.     Not off the top of my head.
 17         Q.     Do you think you have?
 18         A.     Undoubtedly at some point in my life.              I'd like
 19    to think since I became interested in the subject and
 20    began examining them, that at least within the
 21    context of -- context of criminal investigations, that
 22    I'm careful and double-check and rethink things.                 Well,
 23    I -- I can give you an example.            Sometimes I like to do
 24    puzzles.     And sometimes when I don't get to a solution
 25    in the puzzle, it's because I'm suffering from tunnel
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   1   vision looking at it.
   2        Q.     On Page 9 of your expert report, you talk there
   3   at the bottom about how conclusions reached by
   4   detectives should not depend on the particular sequence
   5   in which the evidence is discovered.              If altering the
   6   evidential order changes the case conclusions, then most
   7   likely there's a problem with the investigative logic.
   8   How do you -- what order do you think Detective Benner
   9   should have considered the evidence in this case?
 10         A.     In an investigation, the order in which
 11    evidence is found and then maybe more critically when
 12    lab results get returned can -- can vary, and sometimes
 13    it can take weeks and even months for certain results.
 14    But if you think about it, the -- at least the physical
 15    evidence collected from a crime scene, all that happened
 16    more or less at the same time.            So if you make up your
 17    mind on a subset of the evidence and then later evidence
 18    comes along that challenges your initial set of
 19    assumptions or theory, then the human tendency is to
 20    engage in confirmation bias.           At least there's a risk of
 21    that, and you tend to denigrate that evidence.                 You
 22    don't give it the weight that it should.               You failed
 23    maybe to follow-up further on the -- on the
 24    evidence.      But if you were just -- like one of the
 25    things I try to do is I just look at these things in a
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   1   different order and say, well, if those DNA results came
   2   back day one, you know, what would have been the
   3   thinking?      So --
   4        Q.     Okay.    I -- I think I understand the theory of
   5   what you're saying.        What I'm trying to understand is
   6   you suggested that Benner should have looked at the
   7   evidence in a different order, and I'm wanting to know
   8   from you what order he should have looked at the
   9   evidence in.
 10                     MR. WAPLES:      Objection, misstates his
 11    testimony in his report.
 12                     MS. SCHNEEMAN:       Well, no.     This is -- this
 13    the question that I have.
 14         Q.     (By Ms. Schneeman) I understand what you had
 15    just testified.
 16         A.     Sure.    I'd like to -- I'll try to do a better
 17    job of answering.
 18                     He should have looked at it in multiple
 19    orders.     So think of it as like, you know, cards in a
 20    card deck and you keep shuffling them and looking at
 21    them and say, "This has changed my mind, has this
 22    changed my mind."
 23                     So perhaps one of the more problematic
 24    actions in this case had to do with the timing of the
 25    telephone call from -- that was Detective Benner
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   1   initially stated in his probable cause that was made
   2   from Ruth Rainsberger's land line to Robert Rainsberger
   3   at an hour before William said he had discovered the --
   4   the body.      Now, if that was the case, if that was a
   5   factual occurrence, that's -- that's pretty powerful
   6   evidence and calls into question William Rainsberger's
   7   innocence.      It doesn't fit with his theory.            It -- it --
   8   you know, it would be something that would make you
   9   extremely suspicious.         However, the time was wrong
 10    because it was based on Central standard time because of
 11    the routing of the call through Chicago.               So there
 12    you've got two pieces of evidence, the phone call time
 13    and then the other evidence saying, well, no, this is
 14    really what the phone call time was.              So the first one
 15    was wrong.      And if you looked at those immediately, like
 16    ten seconds apart, you would go, okay, yeah, well, this
 17    fits with what William Rainsberger has said in his
 18    statement.      So, more or less, it becomes nothing.             But
 19    instead it becomes an integral part of his probable
 20    cause and seems to have influenced his thinking after
 21    that.
 22         Q.     Okay, well, so I -- what I understand you
 23    saying is there was an error in interpreting the phone
 24    data, but I still don't know if that answers my question
 25    because I'm -- what I'm trying to understand is if -- if
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   1   Charles Benner had looked at the evidence in a different
   2   order, let's set aside the mistake in interpreting the
   3   phone record, what other evidence or what order would
   4   you have had him look at the evidence first and then a
   5   different order that you would have had him look in the
   6   -- at the evidence later to draw a different conclusion
   7   than the one he did?
   8                    MR. WAPLES:      Objection, asked and
   9   answered, but you can go ahead and answer it.
 10         A.     So this is -- this is a very strong example of
 11    this.     If he had -- rather than look at the -- only look
 12    at the evidence as it came in to him, if he went back
 13    and rethought things and said what if I had discovered
 14    this error right away, what would that have meant for
 15    how I saw things.        And according to the latest
 16    depositions, it still seems that he's either holding on
 17    to the fact that this was Detective Bierce's mistake and
 18    not his, and, therefore, not his responsibility, or that
 19    maybe the telephone company got it wrong.               There's just
 20    no acknowledgement of -- of the error here, which is, by
 21    the way, a very typical response to this.               We have -- we
 22    have a saying that it's often not the initial mistake,
 23    it's the fact that people won't admit their mistakes and
 24    then just double-down, and that makes things ten times
 25    worse.     And --
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   1        Q.     I guess -- I guess what I'm trying to
   2   understand is you've told me multiple times, and -- and
   3   I understand that there was an error in interpreting the
   4   phone records.       But you're saying that the
   5   Detective Benner needs to look at the evidence in
   6   multiple ways, in multiple -- at multiple times, he
   7   didn't look at it again, whatever it is.               And how do
   8   you -- how do you know that?           How do you know that
   9   Detective Benner didn't look at the evidence in multiple
 10    ways on different occasions, and looked at the evidence
 11    in a different order on multiple occasions, that he only
 12    considered things as they came in one time, moved on,
 13    and didn't give it any other consideration?
 14         A.     Well, I'm not Detective Benner.            I can only
 15    tell you what I've read that he had said that he has
 16    done.     And he seemed to be very cavalier about this
 17    error.     It would be -- if his testimony was, yes, we
 18    discovered this mistake and we then looked at things
 19    again.     But he doesn't say that.         He said either it's
 20    not an error or it was Detective Bierce's fault, you
 21    need to talk to him.         That is not someone who's going
 22    back and rethinking their case when they find a problem
 23    in the elements of the evidence that led up to their
 24    probable cause determination.
 25         Q.     Well, again, you haven't answered my question.
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   1   You're only talking about the phone record and the one
   2   error with the phone record.           And so -- so is that the
   3   only -- you're saying that's the only piece of evidence
   4   that he failed to consider --
   5        A.     No.
   6        Q.     -- multiple times?
   7        A.     No, I'm giving you an example.           I can go
   8   through other examples.          So another one would be the --
   9        Q.     Well, but, I guess, back to my -- back to my
 10    original question.        You suggest that if he had
 11    considered the evidence in a different order, that's
 12    what Page 9 says, it's the altering the evidential order
 13    changes the case conclusion.           And so I'm wanting to know
 14    from you, what order do you think Detective Benner
 15    should have considered the evidence?              What order do you
 16    think he considered the evidence and then what order do
 17    you think, if he had considered the evidence in a
 18    different order, it would have changed his mind?
 19                      MR. WAPLES:     I'm going to object to the
 20    form of the question because it misstates his testimony
 21    it misstates his affidavit -- or his report, and it's
 22    been asked and answered.
 23         Q.     (By Ms. Schneeman) Okay.          Well --
 24         A.     Ma'am, I think I did answer it in that he
 25    should look at it in multiple different orders.
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   1        Q.     Okay.    What's makes you think -- what makes you
   2   think --
   3        A.     I can give you another example beyond the
   4   telephone records if you would like.
   5        Q.     I want to ask my question.          What makes you
   6   think that Detective Benner did not do that?
   7        A.     Again, I think I've answered that.             I'm not
   8   Detective Benner, but judging what he has said in his
   9   testimony and his depositions, there is absolutely no
 10    indication that he ever did any such thing.                And, again,
 11    to come back to the telephone record or to the injury on
 12    Ruth Rainsberger's head, he seems to dismiss these
 13    things and just move on.          There's no indication that he
 14    said, "When we got that error, we realized we had made a
 15    mistake and then we went back and looked at things."
 16    There's none of that.         It's either it wasn't an error or
 17    that is something you'll have to ask Detective Bierce.
 18    Same thing with the injury to the top of the head.                  He
 19    -- he doesn't ask or explore what the different
 20    perspectives were.        He just jumps to some assumptions.
 21    He doesn't consider the -- he takes Fireman Woolridge's
 22    statements at -- at face value without understanding
 23    them, without exploring them.           He makes no effort then
 24    to integrate the autopsy results or statements from
 25    other people.       He just looks at something once and he
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   1   moves on because he's so busy.
   2                    You know, I don't have the evidence to do
   3   this but --
   4         Q.    Because --
   5         A.    -- it's interesting to see what his notebook --
   6                    MR. WAPLES:      Well, let him finish his
   7   answer.
   8                    MS. SCHNEEMAN:       Well, he's just speaking
   9   in narrative without a question, but go ahead.
 10          A.    Well, it relates to what we're talking about
 11    it.    It will be interesting to see actual hours logged
 12    on this case by Detective Benner and the other
 13    detectives.      Because, you know, here's one of the
 14    issues, ma'am:       To go back and rethink things takes time
 15    and takes effort and energy.
 16          Q.    (By Ms. Schneeman) Now, I want to ask another
 17    question.      Let's see.     Do you think it's -- do you think
 18    it's reasonable for investigators to draw inferences
 19    from facts?
 20          A.    At some point they will have to, but if you
 21    start drawing inferences from one fact without
 22    understanding or knowing what the other facts are, then
 23    you're going to have a problem.
 24          Q.    Okay.    So are you telling me that you think
 25    Detective Benner drew an inference from just one fact?
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   1        A.     I think he drew inference from what he -- from
   2   -- I think he drew a number of problematic inferences
   3   from single facts without considering what they meant in
   4   the total context.
   5        Q.     And you're basing these conclusions without
   6   ever having met Detective Benner, without ever having
   7   worked with him, not knowing the man and not going the
   8   quality of his work on any other case.
   9        A.     Ma'am, I think you know the answer to that
 10    question.      I'm not evaluating Detective Benner.             I'm
 11    evaluating the investigation of the Ruth Rainsberger
 12    murder.
 13         Q.     You're aware that William Rainsberger has made
 14    a statement early on to Detective Benner that he
 15    believed his mother's head was bashed in, correct,
 16    you're aware of that?
 17         A.     I know that he made some similar statement on
 18    -- during his 911 call and perhaps to Woolridge and then
 19    -- and possibly Detective Benner.
 20         Q.     Do you think that that statement should have
 21    been ignored?
 22         A.     No.
 23         Q.     What relevance would that statement possibly
 24    have to you?
 25         A.     Well, the relevance will depend on the -- the
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   1   other facts in the case.
   2         Q.    Okay.    So -- so you concede or you agree that
   3   that's not a fact that should have been ignored?
   4         A.    No, but I do think it should have been explored
   5   further, and I think Detective Benner should have asked
   6   him why do you think that.
   7         Q.    Okay.    Now, do you think that the demeanor of a
   8   victim or a criminal suspect should be ignored?
   9         A.    I think you have to be incredibly careful when
 10    you use demeanor evidence.           And police have learned the
 11    hard way that people behave differently, individuals
 12    behave differently depending on who they are, depending
 13    on the circumstances.         There's the whole phenomenon of
 14    rape trauma where detectives would not believe a rape
 15    victim because she was not acting like someone they
 16    thought should act if they had been raped.               There's a --
 17    if you're involved with a violent crime, there's a
 18    certain degree of post-traumatic stress disorder that
 19    can occur.      Some people cry.       Some people yell.        Some
 20    people become withdrawn.          And, frankly, any experienced
 21    police officer, let alone detective, would know there's
 22    this range of human activity.
 23          Q.    Right.    But I think what you were -- I think if
 24    -- if I understand your answer is that you do not ignore
 25    it.    It's not something to be completely discarded.                It
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   1   can have some relevance, but you have to be considerate
   2   and careful about the relevance.            Is that what you're
   3   saying?
   4        A.     Fair enough.      It really comes down to what is
   5   the significance of any piece of evidence and whether or
   6   not there are connections to other pieces of evidence.
   7   I'm sure you're familiar with the infamous Amanda Knox
   8   trial where the Italian police jumped to conclusions
   9   based on her demeanor after the discovery of her
 10    roommate's murder.        And, you know, now through DNA
 11    analysis, they know who committed the murder, and the
 12    Italian high court has been very critical of the
 13    investigation.       So it's -- it's sometimes like we expect
 14    people to behave like we see in a Hollywood movie or on
 15    television, and in the real world, people behave in a
 16    variety of different forms.           And any one piece of
 17    evidence has to be considered in the context of all the
 18    other evidence.       So would you ignore it?          No.   Would you
 19    give it much weight?         Very little, especially absent
 20    connections to something else.
 21         Q.     Okay.    And you think in this case, it didn't
 22    have any connection to anything else?
 23         A.     Well, if it was connected to something else, I
 24    haven't read about it.
 25         Q.     Let me ask you a question about another thing
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   1   written in your report.          This is actually on Page 37.
   2   Towards the bottom of that page is the last paragraph.
   3        A.     Yes.
   4        Q.     It says -- the key phrase in this statement is
   5   "his" investigation, meaning, Detective Benner's efforts
   6   to implicate William Rainsberger.             I'm getting the
   7   impression that you think because Detective Benner
   8   referred to the investigation as his investigation, the
   9   word his meant that Detective Benner was trying to get
 10    William Rainsberger.         I'm not understanding why you
 11    italicized the word his?          Why did you think that that
 12    statement meant that -- Detective Benner's
 13    characterization of the investigation as his
 14    investigation meant that he was trying to implicate
 15    William Rainsberger?
 16         A.     At this point in time, I think it's very clear
 17    that he is focused solely on William Rainsberger.                 Here
 18    is DNA evidence that could possibly point towards the
 19    real killer or at least viable suspects.               Now, Detective
 20    Benner says maybe this was left by first responders.
 21    You know, I'd be very surprised, given the blood at the
 22    scene, that people there didn't wear gloves.                That's
 23    standard procedure in most places.             Now, maybe he's
 24    right.     Maybe he's wrong.       But you check it out.         You
 25    get the analysis done.         You try to figure out what it
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   1   might tell you about what occurred at the crime scene.
   2   But, in this case, it didn't fit with his theory and his
   3   suspect, so he becomes uninterested in it.
   4        Q.     Okay.    Well, but that's still not answering my
   5   question.      The mere fact that Detective Benner referred
   6   to the investigation as his investigation, you seem to
   7   be suggesting that because it was his investigation, he
   8   was out to get William Rainsberger.             We was assigned the
   9   investigation, so, of course, it was his investigation.
 10    Aren't you the one jumping to conclusions here?
 11         A.     He's assigned this investigation to determine
 12    what happened, not to get someone that annoyed him in
 13    the early stages because he refused the polygraph test.
 14    And that seems to be what happened here.
 15         Q.     And you're basing that on William Rainsberger's
 16    statements to you that -- that William thought Benner
 17    was annoyed?
 18         A.     And Robert Rainsberger and even the statements
 19    of Detective Tutor and Detective Benner.
 20         Q.     Detective Benner testified that he was annoyed
 21    with William Rainsberger because he wouldn't take a
 22    polygraph?
 23         A.     He wasn't happy.       Again, if you want to wait, I
 24    can try to find some of the -- his quotations.                 Is that
 25    --
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   1         Q.    Sure, go ahead.
   2         A.    Okay.
   3         Q.    Yeah, I want -- what it is about detective --
   4   because it seems to me that you're placing greater
   5   emphasis on certain people's testimony in this case and
   6   discounting Benner's testimony.            And if you can point to
   7   me where Detective Benner said that he was annoyed with
   8   William Rainsberger for not giving or not consenting to
   9   a polygraph, yeah, I'd like for you to point that out to
 10    me.
 11          A.    Well, he states that because of the refusal to
 12    take the polygraph, this is Page 24.
 13          Q.    Tell me what page you're on.
 14          A.    Page 24.     Because he thought the reaction was
 15    out of control, that they were on the right track, and
 16    that the refusal to take the polygraph suggested they
 17    were guilty.      In my experience, individuals who are not
 18    involved in a crime are willing to take a polygraph to
 19    prove their assistance.          But he also talks about if he
 20    was honest about giving him the polygraph, they probably
 21    wouldn't have shown up.          And then there was --
 22          Q.    You're --
 23          A.    -- some -- and I don't know if I have it in my
 24    report, but there was some indication from Detective
 25    Benner somewhere that he thought Detective Tutor had
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   1   yelled at the family.         And then there's indications --
   2   again, some of this is stuff not in this report, but
   3   it's -- but I'm still going through this.               And then
   4   Robert Rainsberger talks about cussing, a whole lot of
   5   yelling at how Tutor broke this up, which, I guess,
   6   would be between William and Detective Benner.
   7        Q.     Okay.    So you -- you can't point to any
   8   testimony in your report that you relied on to -- for
   9   the conclusion that you drew that Detective Benner was
 10    annoyed with William Rainsberger and that's why he
 11    pursued him throughout the rest of the investigation.
 12         A.     There's something in -- and I don't believe
 13    it's in my report, but there's something in one of the
 14    depositions or testimonies about that Detective Benner
 15    admitted that Detective Tutor might have lost his
 16    temper.
 17         Q.     Okay, well, that's Detective Tutor, not
 18    Detective Benner.
 19         A.     I know.
 20         Q.     Okay.
 21         A.     But it's Detective Benner's case, so if
 22    Detective Tutor's getting angry and Detective Benner's
 23    not, I take a look at what Robert Rainsberger said as
 24    well.     And then I look at how Detective Benner proceeds
 25    in the investigation after this point.              He doesn't
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   1   return calls --
   2        Q.     You're drawing the conclusion that Benner was
   3   annoyed, but you can't point to anything specifically
   4   except to say that the fact that they asked Rainsberger
   5   to come in for a polygraph and Rainsberger refused.
   6        A.     I'm pretty sure that if I looked through all
   7   the depositions again I could find those.               If -- if it's
   8   your position that Detective Benner was not annoyed,
   9   that would be very interesting, I think, at trial
 10    because I think -- I think that's not the case.                 And I
 11    think that's the point -- he says that at that point he
 12    became my suspect just because he was thwarted.
 13         Q.     Well, do you -- can somebody be a suspect
 14    without having a personal annoyance against them?
 15         A.     Given the fact that there were, A, two other
 16    viable suspects, Robert and Rebecca, particularly Robert
 17    because of his financial problem, given the fact that
 18    there was this concern about the possible drug sales in
 19    the apartment right above Ruth's, and some other
 20    concerns about high crime in the area, those were all
 21    investigative theories that needed to be explored and
 22    evidence gathered.        But that's not what happened.           I
 23    mean, to me it's amazing that Detective Benner didn't
 24    think it was necessary to look in the garbage can
 25    outside the apartment when he didn't have the murder
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   1   weapon.     Why?    Well, he thinks he knows where the murder
   2   weapon went.       It's this piece of trash that William
   3   Rainsberger threw away in front of the Krogers.                 So
   4   that's, you know, a good example.             I've --
   5        Q.     You think that --
   6        A.     -- I know what's happened.
   7        Q.     You think that that establishes annoyance on
   8   the part of Detective Benner because they didn't look in
   9   the trash for a weapon?
 10         A.     Well, I say it establishes incompetence, and it
 11    also establishes confirmation bias.             Why would you not
 12    do that?     Well, the only thing I can say is he believes
 13    he already knows what happened.
 14         Q.     Well, you're speculating as to what Detective
 15    Benner may have had in his mind, correct?
 16         A.     I don't know what's in Detective Benner's mind,
 17    ma'am.     I can only look at his actions or inactions.
 18         Q.     Right.
 19                     MR. WAPLES:      I think now would be a good
 20    time for a break.
 21                     MS. SCHNEEMAN:       Sure.    Would you like to
 22    take a break?
 23         A.     Sure.
 24                     (Recess taken from 3:57 to 4:07.)
 25         Q.     (By Ms. Schneeman) Okay.          I want to circle back
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   1   and -- and follow-up on some questions that I asked
   2   earlier in the deposition.           You told me that -- I know
   3   you're serving as an expert in this case, and I know
   4   you've served as an expert in the David Camm case.                  I
   5   think you told me that in the eight years prior, you had
   6   offered your expertise in connection with some
   7   commissions of inquiry.          But I guess what I want to
   8   circle back is, other than this case and the David Camm
   9   case, have you served as an expert witness in connection
 10    with civil litigation?
 11          A.    I just clarify:       I -- I wouldn't say I offered
 12    it.    I -- I am asked to and --
 13          Q.    Yeah, I get that.        Thanks.
 14          A.    Civil litigation that actually went to trial
 15    or?
 16          Q.    Well, or a deposition like this.
 17          A.    No.
 18          Q.    Okay.
 19          A.    To be clear, though, I have been involved in
 20    some cases but never to the point of a deposition or a
 21    trial, either because they settled or perhaps they
 22    haven't progressed to that point, I don't know.
 23          Q.    Sure, okay.      About how many cases then would
 24    you say you've been a consulting expert for a civil
 25    litigation like this one?
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   1        A.     Just a handful.
   2        Q.     Okay.    Handful, meaning, five or six?
   3        A.     Might be more accurate, I think, if I guessed
   4   four.
   5        Q.     Were those in Indiana or other jurisdictions?
   6        A.     Well, there's the David Camm case.
   7        Q.     Right.
   8        A.     There was a case in Texas.          Sorry, let me just
   9   check my consultancies list here because that may give
 10    me an idea.
 11         Q.     Sure.
 12         A.     By the way, some of these overlap or merge, so,
 13    for example, the British Columbia missing women
 14    commission inquiry, I --
 15         Q.     Can you remind me what page we're on?
 16         A.     Oh, Page 25 and 26.
 17         Q.     Okay, got it.
 18         A.     Even though that was a provincial commission
 19    inquiry, there were reporters representing various
 20    interested parties of which some of them engaged in
 21    civil litigation afterwards.           I believe I was cross-
 22    examined by 18 lawyers in that particular matter.                 So
 23    these often, especially with a wrongful conviction, end
 24    up in a civil matter where some of my stuff will be
 25    used, but I never got to the point of a separate
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   1   deposition or a trial.
   2         Q.    Okay.    And then correct me if I'm wrong.            I
   3   know the transcript will speak for itself, but I'm
   4   afraid if I didn't ask the question or if I thought I
   5   asked the question and didn't, I'll get home and be
   6   sorry so it -- I just want to ask it again if I did ask
   7   it.    But if I understand, you have never been the lead
   8   homicide investigator on any homicide case.                It's just
   9   that you supervised a section of the Vancouver police
 10    department that investigated homicides and then you've
 11    assisted or consulted in both investigations and looking
 12    at perhaps what went wrong after the fact.
 13          A.    I don't think that's quite accurate.             So the
 14    first part, I've never been a homicide detective,
 15    per se, with that as my assigned function.               In the
 16    geographic profiling section, we provided analytic
 17    support for homicides, particularly serial homicides,
 18    but not entirely.        And then I've also been asked to do
 19    consulting or advice or guidance on cases that ended up
 20    unsolved or with a wrongful conviction.              And I've been
 21    asked to do that by police agencies, defense lawyers,
 22    prosecutors, government agencies.
 23          Q.    I got a question about something when you were
 24    on Page 27 of your report.           You talked about the
 25    indiscriminate use of the polygraph.
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   1                    MR. WAPLES:      Can you say where?
   2                    MS. SCHNEEMAN:       Yeah, it's at the top of
   3   the page.
   4                    MR. WAPLES:      First full paragraph?
   5                    MS. SCHNEEMAN:       First full paragraph.
   6        Q.     (By Ms. Schneeman) Why do you characterize the
   7   act of William Rainsberger to take a polygraph as an
   8   indiscriminate use of it?
   9        A.     First of all, I think the timing was wrong.
 10         Q.     Okay.    With what regard?
 11         A.     Because this is within less than one day of
 12    William finding his mother in a very traumatic
 13    situation.      It just -- if you wanted cooperation from
 14    William, this was not the time or certainly not the way
 15    to do this.      And it made it very clear to him the
 16    perspective I think of the detectives and he reacted
 17    accordingly.      And that unfortunately hurt the
 18    investigation because it shut off a line of further
 19    exploration or inquiry.          I think the --
 20         Q.     Well --
 21         A.     -- the indiscriminate part also refers more to
 22    it was -- the indications were the detectives were going
 23    to polygraph all three people, and this is very
 24    problematic.      It's going to -- it had a 50-50 percent
 25    chance of leading to a false positive given the
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   1   reliability of polygraph tests.
   2        Q.     Well, now, are you aware that polygraphs are
   3   also used to exclude people as suspects?
   4        A.     Yes.
   5        Q.     And do you think it's important to exclude
   6   people as suspects as early as possible?
   7        A.     I would say at the right time.           Again, I think
   8   that the evidence needs to be collected and analyzed and
   9   then a process going from there.            But let's say this is
 10    actually gone ahead as Detective Benner wanted.                 And the
 11    dice rolled such a way that one of the three of them
 12    ended up showing deceptive, which could happen just by
 13    chance given the false positive rates that have been
 14    established exist for polygraphs, assuming you have a
 15    professional unbiased and competent and trained
 16    polygraph examiner.        Well, what's going to happen then?
 17    That's leading -- that's an invitation to confirmation
 18    bias.     It will focus the case --
 19         Q.     Well --
 20         A.     -- and -- and before they have the other
 21    evidence.      So I think they did it prematurely.
 22         Q.     Well, when people early on, why -- why is it
 23    your conclusion that it wasn't -- why do you conclude
 24    that this was an attempt to get evidence against William
 25    early on as opposed to excluding him early on?
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   1        A.     Well, given his treatment of William and the
   2   family up to that point, that -- it's clear that he
   3   thought of him as a suspect.           When he refuses, he
   4   doesn't -- Benner doesn't recognize that it might have
   5   been because he deceived the family or they might be
   6   emotionally upset.        His conclusion is, okay, well, this
   7   is what guilty people do.
   8        Q.     Okay.    So you're -- you're making a judgment
   9   based on what you think Benner's reaction was at the
 10    same time you're saying that Benner shouldn't make
 11    judgments based on the family's reaction.               Isn't that
 12    kind of inconsistent on your part?
 13         A.     I'm saying that this was too early to ask for
 14    the polygraph test, applying it to all the family
 15    members led to a mathematical probability problem, and
 16    that Benner should have collected other evidence first.
 17    There is no time lag here with a polygraph.                You don't
 18    want to do it a year later, but it certainly could have
 19    been done a week later.          And it could have been done in
 20    a very straightforward fashion that didn't alienate the
 21    family.
 22         Q.     Well, that wasn't my last question to you
 23    though.     My last question to you was that you're
 24    judging, you're judging Benner's reaction in the same
 25    way that you say he shouldn't have judged the family's
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   1   reaction.
   2        A.     Well, one, I'm not arresting Benner or locking
   3   him up so let's, you know, put these in different
   4   categories, ma'am.        I'm doing an evaluation of Benner's
   5   investigation, so if you say that involves judgment,
   6   expert judgment, then yes, that would be correct.                 But
   7   in my opinion, this -- I mean, this -- this was done too
   8   early and it was problematic, because like I come back
   9   to it, you just do enough people and you'll get false
 10    positives.      So what if -- what do you know?            What have
 11    you learned?      You haven't learned anything.            If you have
 12    other evidence, maybe you could focus.              For example,
 13    maybe further investigation showed the issue with the --
 14    the money problem suffered by Robert, maybe that might
 15    be the first person you want to do a polygraph on.                  I
 16    don't know.      But this -- this, to me, smacked of a quick
 17    fix, just, okay, let's just polygraph them all, then we
 18    can move on, because I got five other homicides, I can't
 19    put a lot of time into this case.
 20         Q.     But you don't -- you don't know that they
 21    sought a polygraph to exclude -- well, anyway, never
 22    mind.     That's a bad question.
 23         A.     I guess it's worthwhile pointing out, too, that
 24    if someone passes a polygraph test, a certain portion of
 25    those will actually be lying and get away with it.                  So
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   1   it's not a panacea or magic bullet, but it might be
   2   helpful in the context of many other aspects of an
   3   investigation, other types of evidence.
   4        Q.     Do you have -- I know that you -- I know that
   5   you studied and you have a lot of expertise in
   6   criminology and criminal investigations.               What about
   7   psychology and human behavior, is that part of your
   8   expertise as well?
   9        A.     Psychology is a very broad field, but aspects
 10    of psychology are of interest in criminology, which by
 11    its nature is a multidisciplinary field.               So, for
 12    example, forensic psychology or studies on rational
 13    behavior and human judgment.
 14         Q.     And so you think -- you think you've got
 15    expertise in judging what is rational logical human
 16    behavior and what is not?
 17         A.     I think I have expertise in criminal
 18    investigative failures.
 19         Q.     Okay.    Well, that wasn't my question.
 20         A.     Well, it overlaps.
 21                     MS. SCHNEEMAN:       Read back my question,
 22    please.
 23                     (Requested portion read back by the court
 24    reporter.)
 25         A.     So, yet, I mean, that's a very big field, and I
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   1   would -- don't have expertise in that whole area, but to
   2   the degree that it overlaps with detective cognition and
   3   logical and rational analysis of evidence and how that
   4   can lead to criminal investigative failures, so I'm
   5   putting my hands up here to show that there's an overlap
   6   there, that area, I feel comfortable.
   7        Q.     (By Ms. Schneeman) So you feel that your
   8   expertise allows you to judge that William Rainsberger's
   9   behavior was rational, normal and logical under the
 10    circumstances but Benner's was not.             Is that the
 11    conclusion you draw?
 12         A.     I've written in this report that William
 13    Rainsberger's responses upon finding his mother seemed
 14    to make sense and given the circumstances are logical
 15    and rational.       And, obviously, that is at variance with
 16    what Detective Benner says.           I believe Detective Benner
 17    suffered from confirmation bias and tunnel vision.
 18         Q.     Confirmation bias and tunnel vision, are they
 19    two words pretty much the same term?
 20         A.     There's some similarity, but I think they're
 21    somewhat different.        Slightly different concepts.
 22    Confirmation bias has some very -- the three specific
 23    types of it, so it's a little easier to analyze.                 Tunnel
 24    vision tends to be focusing on one thing to the
 25    exclusion of the others, while confirmation bias is more
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   1   a bias interpretation of information and evidence.                  But
   2   there's definitely overlap because confirmation --
   3   tunnel vision often leads to confirmation bias.                 And
   4   aspects of confirmation bias could be categorized as
   5   tunnel vision.
   6                    MS. SCHNEEMAN:       I think that's all I
   7   have.     Mr. Rainsberger's counsel may have some follow-up
   8   questions.
   9                    So I guess, Rich, do you want to get in
 10    the picture?
 11                     MR. RICH:     No, I think I'm in there
 12    enough.
 13                     MS. SCHNEEMAN:       Okay.
 14                               EXAMINATION
 15    BY MR. WAPLES:
 16         Q.     I just have a couple of questions.             One is:
 17    Counsel asked you about Detective Benner's demeanor and
 18    reaction during the polygraph examination questioning,
 19    if they would -- if the family would undertake those,
 20    and you looked at a couple of things in your report.
 21    You didn't turn to Page 27 in your report, and is that
 22    additional information that explains what you saw from
 23    the evidence of Defendant Benner's react -- Defendant
 24    Benner's reaction to the polygraph episode in his
 25    actions?
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   1        A.     Yes, this -- this was -- sorry, Catherine Box
   2   is questioning Robert Rainsberger, and it starts out,
   3   "So after you were asked to do a polygraph and you
   4   refused, what happened?"
   5                    "Benner was pissed."
   6                    "Okay."
   7                    Rainsberger:      "He was, he was angry the
   8   whole time we were there, but that pissed him off more
   9   than anything."       And then he goes on, "They spoke to
 10    Bill first, then me.         And he just had, well, when we
 11    first got there, he talked to my sister like she was a
 12    petulant little seven-year-old, and he wanted to talk to
 13    her first since he didn't talk to her the night before.
 14    And he was just angry.         He was angry as soon as we got
 15    there.     Becky didn't stand up as soon as he told her to
 16    come with him, so he yelled at her.             Then he talked to
 17    Bill.     Apparently, he didn't like what Bill had to say
 18    because by the time he got to me, he was fit to be tied.
 19    He asked me -- he asked me, 'So I suppose you didn't
 20    want -- you don't want to take a polygraph either?'                  I
 21    said no.     And then he started yelling, and he started
 22    bringing out statistics about whatever.              And there was a
 23    whole lot of cussing between he and I, a lot of yelling,
 24    and I -- to Tutor's credit, he broke it up."
 25                     Then there was also something which may
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   1   not be in this report where when Benner was asked about
   2   this yelling, and I think it was by David Hennessey, he
   3   said something, well, Tutor might have yelled.                 But I
   4   don't necessarily -- I don't necessarily think that's in
   5   this report, but I believe it was one of the depositions
   6   Hennessey did or maybe the bail testimony.               I'm not
   7   sure.     It would be easy enough to find.           Then there was
   8   also Rebecca Rainsberger has some recollections about
   9   that particular session that -- let's call it the
 10    polygraph section -- session at the police department.
 11         Q.     Okay.
 12                     MR. WAPLES:      Can we take a little break?
 13                     (Recess from 4:26 to 4:30 p.m.)
 14                     MR. WAPLES:      Dr. Rossmo, I don't have any
 15    further questions.        I would note, Pam, that we might
 16    have two exhibits here.          One is his report and the other
 17    is the CV.      [Do you want to index report and CV             later
 18    down they said they were combining into one exhibit]
 19                     MS. SCHNEEMAN:       Oh, okay.
 20                     MR. WAPLES:      And the CV, which you
 21    referred to --
 22                     MS. SCHNEEMAN:       I thought it was part of
 23    the report.
 24                     MR. WAPLES:      I think it's a separate
 25    exhibit in the summary judgment thing, so we might have
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   1   a separate number for that.
   2                    MS. SCHNEEMAN:       Oh, okay.
   3                    MR. WAPLES:      But I don't care, we can put
   4   it all together.        It doesn't matter.
   5                    MS. SCHNEEMAN:       When I got the disclosure
   6   of expert witness, it was all together so I assumed that
   7   it was all part of one thing, but I think we'll -- we're
   8   all in agreement what it is, so.
   9                    MR. WAPLES:      Sure.    We'll combine it for
 10    purposes of this.
 11                     But I don't have any further questions.
 12                     MS. SCHNEEMAN:       Okay.
 13                     THE WITNESS:      Can I just ask you,
 14    regarding an exhibit question, in the report where it
 15    asks what I might refer to during a trial, I referenced
 16    the possibility of generating a Powerpoint presentation
 17    from the report, which I don't know if that has to be
 18    classified as an exhibit.          It's not prepared at this
 19    time.    And I suspect you probably don't want it unless
 20    this matter goes to trial, but I just wanted to remind
 21    people about that.        And it would be just based on the
 22    information in the report.
 23                     MR. WAPLES:      Sure.
 24                     MS. SCHNEEMAN:       Okay.
 25                     MR. WAPLES:      We understand.
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   1                    THE WITNESS:      Okay.
   2                    MR. WAPLES:      Well, thank you very much,
   3   Doctor.
   4                    MS. SCHNEEMAN:       Yeah.    Thank you very
   5   much.    I appreciate your willingness to do the video
   6   thing.     It makes it all, I think, easier for us and you,
   7   and so, I do, I appreciate it.
   8                    THE WITNESS:      Okay.    Thank you.
   9                    MR. WAPLES:      Another thing I want to say
 10    before we get off the record is actually the -- your
 11    bill for this deposition, Doctor, you can send it to me,
 12    but I will forward it to defendants for payment.                 The
 13    defendants have to pay experts that they depose of the
 14    other side.
 15                     THE WITNESS:      Okay.    You want me to wait
 16    until the end of the month or do it sooner rather than
 17    later?
 18                     MR. WAPLES:      Any time you're ready, you
 19    can send it when it's ready.
 20                     THE WITNESS:      Okay.    Because we don't have
 21    anything else that we have to do in the next couple of
 22    weeks?     I didn't think so, okay.
 23                     MR. WAPLES:      I don't believe so.
 24                     THE WITNESS:      Okay.
 25                     MR. WAPLES:      Thank you.
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   1                    (Deposition concluded at 4:32 p.m.)
   2
   3                    AND FURTHER THE DEPONENT SAITH NOT.
   4
   5
   6                                           __________________
   7                                           DR. KIM ROSSMO
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   1          I, Chris Carpenter, Certified Shorthand Reporter in
   2   and for the State of Texas, hereby certify to the
   3   following:
   4        That the witness, DR. KIM ROSSMO, was duly sworn by
   5   the officer and that the transcript of the oral
   6   deposition is a true record of the testimony given by
   7   the witness;
   8        That the amount of time used by each party at the
   9   deposition is as follows:
 10         Ms. Schneeman:       1 hour, 58 minutes
 11         Mr. Waples:      4 minutes
 12         I further certify that I am neither counsel for,
 13    related to, nor employed by any of the parties or
 14    attorneys in the action in which this proceeding was
 15    taken, and further that I am not financially or
 16    otherwise interested in the outcome of the action.
 17         Certified to by me this 25th day of April, 2017.
 18
 19
 20
 21                          __________________________________
                                 CHRIS CARPENTER, CSR NO. 1151
 22                              Expiration Date 12/31/2018
                                16414 San Pedro, Suite 900
 23                             San Antonio, TX 78232
                                (210)697-3400
 24
 25    Firm Registration No. 631
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